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        EXHIBIT 12
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    From:             Christopher Greene
    To:               eli.f.mosley@gmail.com
    Cc:               Roberta Kaplan: Mie..Enls; Gabrielle E. Tenzer; Karen Dunn: Jessica Phillips: Levine. Alan; Mills. David: ~
                      Eb.ilw...M..
    Subject:          Sines v. Kessler
    Date:             Tuesday, November 27, 2018 6:56:46 PM
    Attachments:      2018.11.13 379 Order re Pltfs Motion to Compel to Permit Inspection.pdf

    Mr. Kline,


    Plaintiffs have subpoenaed Discord for communications related to Plaintiffs' claims against
    Defendants in this action. Accordingly, we request that you send the below consent by e-mail to
    SCA@bsfllp.com for each Discord account that you used to communicate concerning the Events, as
    that term is defined in Plaintiffs' First Requests for Production of Documents, dated January 25,
    2018. This includes, but is not limited to, any Discord account you identified in response to Plaintiffs'
    Interrogatory No. 1 to Defendants. As you know, Judge Hoppe has already ordered all Defendants
    who appeared at the November 9, 2018 conference to provide such consent. (ECF No. 379; Order
    attached.) Other Defendants have complied with the Court's order and provided the consent.
    Plaintiffs therefore request that you provide the consent without the necessity of Court intervention.


    The consent e-mail must be sent from the e-mail address that you used to initially set up their
    Discord user account. For the avoidance of doubt, it is does not matter if your Discord user account
    has been deleted.


    Plaintiffs request that you send the below consent email to SCA@bsfllp.com no later than Friday,
    November 30.


    Regards,

    Christopher B. Greene I Kaplan Hecker & Fink LLP
    350 Fifth Avenue I Suite 7110
    New York, New York 10118
    (W) 929.294.2528 I (M) 646.856.6861
    cgreene@kaplanhecker.com




    *******

    I, [type your name here], am the sole accountholder for the Discord account associated with the
    username [insert] and the email address [fill in your email address here], from which I am sending
    this email.
    Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3), I expressly consent to Discord
    producing all records and contents of communications associated with the account referenced
    above, including without limitation all messages and posts regardless of their privacy settings and all
    communications and messages that are presently active and that may be restored in the future.


    I understand and consent that Discord will disclose the records and contents to the legal team for
    Plaintiffs in the lawsuit Sines, et al. v. Kessler, et al., Case No. 3:17cv-00072, which is currently
    ongoing in the United States District Court for the Western District of Virginia. I understand and
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    agree that Discord will not search, filter, or limit the records or content in any way before producing
    them. I understand that after disclosing the information, Discord cannot control how the records
    and content are used and whether the records and content are further disclosed, which may include
    being filed in the public record.


    I indemnify Discord, Inc., and its parents, subsidiaries, affiliates, officers, contractors, and employees
    against all claims for damages, compensation, and/or costs brought by any party with respect to
    damage or loss caused by, or arising out of, or being incidental to the above-referenced disclosure of
    records or contents of communications. I release any claims I may have against Discord, Inc., or its
    parents, subsidiaries, affiliates, officers, and employees for damages, compensation, and/or costs
    with respect to damage or loss caused by, or arising out of, or being incidental to the above-
    referenced disclosure of records or contents of communications.
